1    Tom McAvity, 034403
     Phoenix Fresh Start Bankruptcy
2    4602 E Thomas Rd, Ste S-9
     Phoenix, AZ 85018
3    Phone: 602-598-5075
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4    Email: tom@phoenixfreshstartbankruptcy.com
5                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF ARIZONA
6
                                                      )   Chapter: 13
7    In re:                                           )   Case No. 2:20-bk-01580-EPB
                                                      )
8    KUSHUNE DENISE ALLEN,                            )
                                                      )   MOTION TO RECONSIDER ORDER
9                  Debtor                             )   DENYING MOTION TO CONTINUE
                                                      )   THE SECTION 362(a) STAY PURSUANT
10                                                    )   TO SECTION 362(c)(3)
                                                      )
11                                                    )
12
              Debtor KUSHUNE DENISE ALLEN (“Debtor”), by and through undersigned counsel,
13   hereby moves the Court, to reconsider its Order denying Debtor’s Motion to Continue Automatic

14   Stay based on the failure of counsel to appear at a continued Hearing. This Motion is supported
     by the following:
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16                                             BACKGROUND

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         1. Debtor filed for protection under Chapter 13 of the United States Bankruptcy Code on
18            February 15, 2020. Russell Brown was appointed as the Chapter 13 Trustee.
19       2. Debtor filed a Motion to Continue Automatic Stay on March 3, 2020 and a hearing on the

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              Motion was subsequently set for March 17, 2020
         3. Debtor’s Declaration in Support of her Motion was filed on March 16, 2020
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         4. A hearing on the Motion was conducted in part of March 17, 2020 where counsel for
22
              Debtor explained the basis of Debtor’s motion. At the close of the hearing, the Court
23            raised concerns regarding notice with respect to the hearing itself and continued the
24            hearing to April 16, 2020 so that the notice issue could be addressed.
         5. Counsel for Debtor addressed the notice issue and filed a Notice of Continued Hearing on
25
              April 13, 2020.
                                                            Phoenix Fresh Start Bankruptcy
                                                            4602 E Thomas Rd. Ste. S-9
                                                            Phoenix, AZ 85018
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         6. On April 16, 2020, counsel for debtor appeared in two 341 hearings at nine a.m. and then
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             completely forgot about the hearing calendared for 10:00 am.
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         7. Fault for missing the hearing was counsel’s alone, it had been properly calendared by his
3            staff.
4        8. Counsel for debtor contacted the court at 12:30 pm via email once he realized what he
             had done and to apologize for wasting the court’s time and, at approximately 1:00 pm, he
5
             received the order denying the Motion to Continue Stay,
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7            WHEREFORE Debtor respectfully requests the Court to reconsider its Order Denying
     Debtor’s Motion to Continue Stay and reset this matter for hearing
8

9            RESPECTFULLY SUBMITTED this 16th day of April, 2020
10

11
                                                             /s/ Tom McAvity    ______
12                                                           Tom McAvity, 034403
                                                             Phoenix Fresh Start Bankruptcy
13
                                                             4602 E Thomas Rd, Ste S-9
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                                                             Phoenix, AZ 85018
                                                             Phone: 602-598-5075
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17                                      CERTIFICATE OF SERVICE

18           This is to certify that the foregoing was submitted on April 16, 2020 in the United States
     Bankruptcy Court for filing and transmittal of notice of electronic filing to the United States Trustee,
19
     the Chapter 13 Trustee and the ECF registrants appearing in this case.
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21           By: /s/Tom McAvity_______________________

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